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UNITED STA TES DISTRICT COURT "" ~.. D,r,\_
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n l"\, US_ D.""]R{Cr
van §__,);. MWI.§?W
EQUAL EMPLOYMENT OPPORTUNITY JUDGMENT IN A CIVIL CASE
COMMISSION,
Plaintiff,
V.
MIRABILE INVESTMENT CORPORATION CASE NO: 2:04-2775-B

and OLIVE OIL ASSOCIATES
d/b/a POPEYE’S CHICKEN AND BISCUIT
RESTAURANT,

Defendant.
DECISION BY COURT. This action came to consideration before the Court. The issues have been

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent Decree entered
on .Iuly 21, 2005, this cause is hereby dismissed.

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Clerk of Court

(By) Deputy C:§rk

Thfs document entered on the docket Sheet in compiiance
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with Rule 58 and/or 79(a) FHCP on v 1263 05

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Honorable J. Breen
US DISTRICT COURT

